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                          UNITED STATES BANKRUPTCY COURT
                                            Southern District of Georgia

In re:                                                                             Case No.: 18−10273−SDB
Fredericka Yolanda Mitchell−Moss
       Debtor                                                                      Judge: Susan D. Barrett
                                                                                   Chapter: 13
                                      ORDER ON MOTION FOR RELIEF FROM STAY
                                              (Official Local Form B−55)


MOVANT: Titlemax of Georgia, Inc.
SUBJECT PROPERTY: 2004 Nissan Quest

After notice and a hearing the motion is ordered:

   Granted.            The Trustee will discontinue distribution on the movant's claim and reduce movant's claim to the amount
                       paid if no amended claim is filed within ___________ days of this order.

                       The Trustee shall reduce movant's claim relating to this collateral to the amount paid. Movant is granted
                       leave to seek allowance of a deficiency claim, if appropriate.
   Continued to _________________________ at _______________ a.m./p.m.



   Continued. The Motion will not be reassigned until a minimum of seven (7) days after Movant files and serves a Request for
   Assignment of Continued Hearing. That request shall not be filed until discovery is complete, including, if applicable,
   providing a post−petition payment history to opposing counsel.


   Denied.



   Denied on the condition that:


        The debtor shall make timely post−petition payments to Movant as required by the Chapter 13 plan.

        The debtor shall tender payments to Movant or take other action as follows:
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                    Post−petition arrearage is $________________ through the ________________ payment due date, plus
                   attorney's fee of $_________________ and court costs of $______________ for a total arrearage of
                   $__________________.

                   Debtor shall pay to Movant the sum of $________________ on or before _______________________ which
                   sum shall be applied to the above−referenced total arrearage.

                   Debtor shall cure the foregoing arrearage in full by making additional monthly payments to the Movant in the
                   sum of $_______________ per month beginning ______________ and continuing on the ______________
                   day of each successive month thereafter, with a final additional payment of $______________ being due on
                   or before _____________________.

                   Debtor shall recommence making regular monthly payments to Movant, as same come due under the
                   applicable loan documents, including any insurance premiums which may come due thereunder, (subject to
                   adjustments if provided in the contract) beginning ____________, and maintain current monthly payments
                   thereunder for the pendency of this case. All payments must include the last four digits of the account number
                   ________________ and shall be sent to the following address, depending on the type of payment:

                                                   _____________________________________

                                                   _____________________________________

                                                   _____________________________________
STRICT COMPLIANCE IS ORDERED as follows:

   That in the event the debtor fails to comply with the terms of this order, the movant, through its attorney of record, may file an
   affidavit establishing the default, served upon the debtor and debtor's attorney. Upon the expiration of fourteen (14) days
   without the filing of a counter−affidavit by the debtor disputing the fact of default, an order will be entered lifting the automatic
   stay, converting the case to a Chapter 7 or dismissing the case without further motion, notice or hearing.

   The strict compliance provision of this Order shall expire on _______________________________________________ .

   Other provisions: __________________________________________________________________________________

   ________________________________________________________________________________________________

   ________________________________________________________________________________________________

   ________________________________________________________________________________________________

   ________________________________________________________________________________________________

   ________________________________________________________________________________________________

   ________________________________________________________________________________________________
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NOTE TO COUNSEL: THE COURT REQUIRES ANY FORM MODIFICATIONS AND/OR NONCONFORMING TERMS TO
BE PLACED IN THE "OTHER PROVISIONS" SECTION ABOVE, OR ON A SEPARATE PAGE.

                                                      [END OF DOCUMENT]



______________________________ _____________________________ _____________________________ _____________________________
       Attorney for Movant       Attorney for Respondent/Debtor          Debtor                        Trustee


______________________________ _____________________________ _____________________________ _____________________________
          Name (print)                   Name (print)                  Name (print)                  Name (print)


______________________________         _____________________________
          GA Bar No:                             GA Bar No:


Order prepared and submitted by:

s/: ________________________________________

Attorney Name: ______________________________

Attorney for: ________________________________

GA Bar No: _________________________________

Address: ___________________________________

City, St, Zip: ________________________________

Phone: _____________________________________

Email: ______________________________________

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